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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 18-00028 JVS (KESx)                                     Date   May 13, 2019

 Title             Estate of Michael Anthony Perez, et al. v. City of Orange, et al.


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                        Sharon Seffens
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           Defendants City of Orange, Carlos Gutierrez, Thomas Kisela’s Motino
                        for Summary Judgment Against Monique Perez [74]

      Cause is called for hearing. Counsel for defendants submit on the tentative ruling
previously issued and are not present. There is no appearance on behalf of Plaintiff. The
Court GRANTS Defendants’ Motion and rules in accordance with the tentative as
follows:

       Defendants City of Orange (“Orange”), and Thomas Kisela (“Kisela”) and Carlos
Gutierrez (“Gutierrez”) in their capacities as Orange employees (together, “Defendants”)
filed a motion for summary judgment against Plaintiff Monique Perez (“Ms. Perez”) on
all her causes of action. Mot., Docket No. 74. No opposition has been filed. See Docket
No. 77.

         For the following reasons, the Court grants the motion.

                                             I. UNDISPUTED FACTS

      This action arises out of the death of Michael Anthony Perez (“Decedent”), who
was shot and killed by Orange Police Officer Gutierrez while he and other officers were
attempting to detain him after a traffic stop escalated into a 56-minute standoff. Ms.
Perez brings three claims: (1) the third cause of action for violation of substantive due
process against Gutierrez; (2) the fifth cause of action for wrongful death under
California law against all Defendants; and (3) the sixth cause of action for violation of
California Civil Code § 52.1 (“Bane Act”) against Gutierrez and Orange. See Third
Amended Complaint (“TAC”), Docket No. 63. Defendants move for summary judgment

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on all three claims.1

       At 11:19 p.m. on March 12, 2017, Orange Police Officer Mikhail Shemyakin
(“Shemyakin”) encountered a white van with what appeared to be a malfunctioning tail
light while on patrol. Declaration of Mikhail Shemyakin, Docket No. 74 at 16
(“Shemyakin Decl.”) ¶ 2, Ex. A (“Shemyakin Footage”) at 11:19 p.m. Shemyakin ran the
vehicle’s license plate and discovered an outstanding warrant for its owner, Decedent.
Shemyakin Decl. ¶ 2. Shemyakin then initiated a traffic stop, which resulted in the van
eventually coming to a stop at a shopping center parking lot at 108 West Katella.
Shemyakin Footage at 11:19:49 p.m. At 11:30 p.m., Shemyakin made contact with the
vehicle’s driver, who confirmed that he was Decedent. Shemyakin Decl. ¶ 4; Shemyakin
Footage at 11:30:24. For the ensuing 56 minutes, Decedent refused to voluntarily exit the
van. Shemyakin Footage at 11:30:24 p.m. – 12:26:23 a.m.; id., Ex. B (“Gutierrez
Footage”) at 11:30 p.m. – 12:26:23 a.m. During the stand-off, Decedent verbally
threatened to light himself on fire several times, brandishing a gas can, rags, and cigarette
lighters. Shemyakin Footage at 11:33:30 p.m. – 12:26:23 a.m.; Gutierrez Footage at
11:58:57 p.m. – 12:26:23 a.m. The officers could smell gasoline, indicating that
Decedent had the means to carry out his threat. Shemyakin Decl. ¶ 5; Gutierrez Decl. ¶ 5.
At 11:41 p.m., Decedent told the officers to look at what he claimed were fresh,
self-inflicted burns on his neck. Shemyakin Footage at 11:41:28 p.m.; Gutierrez Footage
at 11:41:28 p.m. Over the course of the stand-off, fifteen Orange Police Department
(“OPD”) officers arrived to assist. Shemyakin Decl. ¶ 4; Gutierrez Decl. ¶ 4. Given
Decedent’s observed conduct, the officers’ consensus was that Decedent was unlikely to
voluntarily exit the van, and that he had the means to carry out his threat of
self-immolation, a threat which increased the longer the stand-off went on. Shemyakin
Decl. ¶ 5; Gutierrez Decl. ¶ 5. The van’s windows were also heavily tinted such that the
interior could not be viewed, increasing the officers’ uncertainty regarding potential
threats within. See Shemyakin Footage; Gutierrez Footage; Shemyakin Decl. ¶ 5;
Gutierrez Decl. ¶ 5.
       A plan was devised: one team of officers would break the van’s passenger
windows and douse the interior with a firehouse in order to (a) eliminate the threat of fire
and (b) force Decedent to exit the van. Shemyakin Decl. ¶ 6; Gutierrez Decl. ¶ 6.
Meanwhile, another team of officers would approach the van’s driver side to intercept

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        The remaining Plaintiffs’ claims have either been dismissed or conditionally settled. Mot.,
Docket No. 74 at 4 n.1.
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Decedent when he exited. Shemyakin Decl. ¶ 6; Gutierez Decl. ¶ 6. That plan was put
into action. Shemyakin Footage at 12:25:53 a.m.; Gutierrez Footage at 12:25:53 a.m.;
Shemyakin Decl. ¶ 7; Gutierrez Decl. ¶ 7.

       When Decedent exited the van, he had a knife in a sheathe on his hip, and officers
began yelling “Knife!” to highlight the danger. Shemyakin Footage at 12:26:58 a.m.;
Gutierrez Footage at 12:26:58 a.m. Decedent and Shemyakin then began grappling with
one another. Shemyakin Footage at 12:27:00 a.m.; Gutierrez Footage at 12:27:00 a.m.;
Shemyakin Decl. ¶ 7; Gutierrez Decl. ¶ 7. During this time, a non-lethal round was fired
at Decedent that had no discernable effect on him. Gutierrez Footage at 12:26:59 a.m.;
Shemyakin Decl. ¶ 7; Gutierrez Decl. ¶ 7. Thereafter, Gutierrez fired a single, ultimately
fatal bullet which struck Decedent in the torso, whereupon he fell to the ground.
Shemyakin Footage at 12:27:04 a.m.; Gutierrez Footage at 12:27:04 a.m.; Shemyakin
Decl. ¶ 7; Gutierrez Decl. ¶ 7. Six seconds elapsed from the time Decedent exited to the
time of the shooting. Shemyakin Footage at 12:26:58 a.m. – 12:27:04 a.m.; Gutierrez
Footage at 12:26:58 a.m. – 12:27:04 a.m. Decedent died from the gunshot wound. TAC,
Docket No. 63 ¶ 37.

      Ms. Perez alleges she is entitled to damages in her capacity as Decedent’s
daughter. Id. ¶ 13. However, Ms. Perez has not produced a copy of her birth certificate,
nor any other evidence that would confirm her parentage. Declaration of Douglas Lief,
Docket No. 74 at 22 (“Lief Decl.”) ¶¶ 2–3, Exs. C, D at Nos. 7, 8, 17. Ms. Perez was not
present for Decedent’s shooting, nor any events which precipitated it. Shemyakin Decl. ¶
8; Gutierrez Decl. ¶ 8.

                                      II. LEGAL STANDARD

       Summary judgment is appropriate where the record, read in the light most
favorable to the non-movant, indicates “that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see
also Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). Summary adjudication, or
partial summary judgment “upon all or any part of [a] claim,” is appropriate where there
is no genuine dispute as to any material fact regarding that portion of the claim. Fed. R.
Civ. P. 56(a); see also Lies v. Farrell Lines, Inc., 641 F.2d 765, 769 n.3 (9th Cir. 1981)
(“Rule 56 authorizes a summary adjudication that will often fall short of a final
determination, even of a single claim[.]”) (internal quotation marks omitted).
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       Material facts are those necessary to a claim’s proof or defense; they are
determined by the substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
(1986). In deciding a motion for summary judgment, “[t]he evidence of the non-movant
is to be believed, and all justifiable inferences are to be drawn in his favor.” Anderson,
477 U.S. at 255.2

        The moving party bears the initial burden to establish the absence of a material fact
for trial. Anderson, 477 U.S. at 256. “If a party fails to properly support an assertion of
fact or fails to properly address another party’s assertion of fact . . ., the court may . . .
consider the fact undisputed.” Fed. R. Civ. P. 56(e)(2). Furthermore, “Rule 56[(a)]3
mandates the entry of summary judgment . . . against a party who fails to make a showing
sufficient to establish the existence of an element essential to that party’s case, and on
which that party will bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322.
Therefore, if the non-movant does not make a sufficient showing to establish the
elements of its claims, the Court must grant the motion.

                                            III. STANDING

A.       No Proof of Familial Relationship

      Ms. Perez brings three claims: (1) a federal substantive due process claim against
Gutierrez under 42 U.S.C. § 1983 (third cause of action); (2) a state law wrongful death
claim against all Defendants (fifth cause of action); and (3) a Bane Act claim against
Gutierrez and Orange (sixth cause of action). TAC, Docket No. 63.

     California Code of Civil Procedure § 377.60(a) allows a cause of action to be
brought by “the decedent’s surviving . . . children.” Thus, absent competent evidence of

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         “In determining any motion for summary judgment or partial summary judgment, the Court
may assume that the material facts as claimed and adequately supported by the moving party are
admitted to exist without controversy except to the extent that such material facts are (a) included in the
‘Statement of Genuine Disputes’ and (b) controverted by declaration or other written evidence filed in
opposition to the motion.” L.R. 56-3.
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       Rule 56 was amended in 2010. Subdivision (a), as amended, “carries forward the summary-
judgment standard expressed in former subdivision (c), changing only one word — genuine ‘issue’
becomes genuine ‘dispute.’” Fed. R. Civ. P. 56, Notes of Advisory Committee on 2010 amendments.
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this relationship, the cause of action must fail. If plaintiff lacks standing to bring a
wrongful death claim under § 377.60(a), that plaintiff also lacks standing to bring a claim
under 42 U.S.C. § 1983. See, e.g., Reynolds v. Cty. of San Diego, 858 F. Supp. 1064,
1069 (S.D. Cal. 1994), aff’d in part, remanded in part, 84 F.3d 1162 (9th Cir. 1996).

       Here, Ms. Perez has not provided competent evidence indicating that she is indeed
one of Decedent’s surviving children. Ms. Perez promised to produce her birth certificate
in discovery, but no production was ever made. Nor has any effort been made to produce
a DNA test or testimony from Ms. Perez’s mother regarding Ms. Perez’s parentage.
Finally, even if Ms. Perez declared that she is Decedent’s daughter, she does not have
personal knowledge of her own conception, and the testimony would be inadmissible
hearsay to the extent her knowledge of her parentage derives from what she was told by
others. Fed. R. Evid. 801(c), 802.

       As with all elements of her claims, Ms. Perez carries the burden of proof of
showing that she is indeed one of Decedent’s surviving children as required for a
wrongful death claim under California law. See Cal. Civ. Code § 377.60(a). Therefore,
Ms. Perez does not have standing to bring her wrongful death claim because there is no
competent evidence in the record indicating that she is one of Decedent’s surviving
children. Cal. Civ. Code § 377.60(a). Furthermore, whether Ms. Perez has standing to
bring her 42 U.S.C. § 1983 substantive due process claim depends on whether she has
standing to bring her state law wrongful death claim. See Reynolds, 858 F. Supp. at
1069.

      Accordingly, the Court grants Defendants’ motion for summary judgment as to
Ms. Perez’s substantive due process and wrongful death claims for lack of standing.

B.       Derivative Harm

       Ms. Perez is barred from bringing her Bane Act claim because there is no evidence
that Defendants deprived her of any rights which are not derivative of the rights allegedly
deprived of Decedent. The Bane Act is not simply a wrongful death provision; rather, it
is “limited to plaintiffs who themselves have been the subject of violence or threats” in
violation of their rights. Bresaz v. Cty. of Santa Clara, 136 F. Supp. 3d 1125, 1138 (N.D.
Cal. 2015) (quoting Bay Area Rapid Transit District v. Superior Court (“BART”), 38 Cal.
App. 4th 141, 144 (1995)).
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       In Bresaz, relatives of a decedent who was shot and killed during a confrontation
with police brought a claim under the Bane Act. Id. at 1128–29. The court dismissed the
relatives’ Bane Act claim for lacking of standing because they had not personally been
deprived of their rights; rather, they “were deprived of their substantive due process
rights because of the acts of violence or threats of violence committed by Defendants
against the Decedent . . .[,] the exact sort of ‘derivative liability’ claim that is not
supposed to be actionable under the Bane Act.” Id. at 1138 (quoting BART, 38 Cal. App.
4th at 144–45).

      The same is true here. Ms. Perez was not personally subjected to any action by
Defendants. The only allegedly actionable conduct involves tactics employed against
Decedent, and Ms. Perez was not present for those events. Therefore, her harm is purely
derivative, i.e., Ms. Perez’s rights were violated only to the extent that Decedent’s rights
were violated. Therefore, as Bresaz makes clear, Ms. Perez lacks standing to assert a
substantive due process claim under the Bane Act.

      In sum, there is no genuine dispute that Ms. Perez lacks standing to bring her
claims for (1) violation of substantive due process under 42 U.S.C. § 1983, (2) state law
wrongful death, or (3) violation of substantive due process under the Bane Act.
Accordingly, summary judgment in Defendants’ favor is appropriate.

                                        IV. CONCLUSION

         For the foregoing reasons, the Court grants the motion.

                 IT IS SO ORDERED

                                                                                               :        02

                                                        Initials of Preparer      lmb




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